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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION
                                Case No.: 9:22-cv-80098-DMM

  REINA TRINWITH,

         Plaintiff,

  v.

  HARTFORD LIFE AND ACCIDENT
  INSURANCE COMPANY,

         Defendant.
                                           /

        JOINT MOTION TO CONDUCT MEDIATION VIA VIDEOCONFERENCE

         Plaintiff, Reina Trinwith (“Ms. Trinwith”), and Defendant, Hartford Life and Accident

  Insurance Company (“Hartford”) (the “Parties”), file this Joint Motion to Conduct Mediation via

  Videoconference and state as follows:

         1.      This Court entered a Pretrial Scheduling Order and Order Referring Case to

  Mediation on March 22, 2022 [DE 17].

         2.      In an attempt to resolve this matter, the Parties have chosen to schedule mediation

  with Jack L. Townsend, Sr., on June 2, 2022, at 1:00 p.m. (EST).

         3.      Due to the current situation surrounding COVID-19, the Parties and their respective

  counsel request to conduct mediation via videoconference.

         4.      Conducting mediation via videoconference will not in any way inhibit the Parties

  from holding a meaningful mediation.

         Accordingly, the Parties respectfully request that this Court enter an order permitting the

  Parties to conduct mediation via videoconference.
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  Respectfully submitted this 31st day of March, 2022.

    /s/ Jonathan M. Fordin                          /s/ Edward P. Dabdoub
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